                                    Case 4:20-cv-00271-BRW Document 1-1 Filed 03/13/20 Page 1 of 1
JS 44 (Rev. OQ/1 Q)
                                                                                    CIVIL COVER SHEET J.{:                                              20 -c..V - 211- Y,(<W
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court This fonn, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SJ-;J-; INSTRUCTIONS ON NJ-:.\7' p,ic;,,- OF THIS FORM)

I. (a) PLAINTIFFS                                                                                                        DEFENDANTS
 LESLIE BARTOLOMEI, individually and on behalf of all others similarly                                                 NATIONAL REPUBLIC CONGRESSIONAL COMMITTEE and
situated                                                                                                               WINRED TECHNICAL SERVICES, LLC
      (b)     County of Residence of First Listed Plaintiff                                                              County of Residence of First Listed Defendant
                                      (1-":XCEl'T IN I J.S. PI.AINTll-'F CASES)                                                                             (IN ll.S. PI.AIN77Ff-'CASJ-:SONl,Y)
                                                                                                                          NOTE:     IN LAND CONDEMNATION CASES. USE THE LOCATION OF
                                                                                                                                    THE TRACT OF LAND INVOLVED.

      ( C)    Attorneys (Firm Name, Addres.,, a11d 7eleplume N11mher)                                                     Attorneys ((fK111,w11)

Bautista LeRoy LLC, 3770 Broadway Boulevard, Second Floor, Kansas
City, Missouri 64111, (816) 221-0382

II. BASIS OF JURISDICTION (l'lacea11 "X"i11011eRox011lyJ                                                  Ill. CITIZENSHIP OF PRINCIPAL PARTIES(l'lacea11 "),,"'i11011eHoxji1r/'/{lj111,ff
                                                                                                                     (J,;,r l)iversi(v Case.<< J11M                                             and ( J11e Hox.fi>r /)c(e11dcmt)
0 I        U.S. Gove111111ei1t             0 3     Federal Question                                                                                PTF        DEF                                                  PTF        DEF
              Plaintiff                              (l l.S. (,ol'ernmenl Not a l'arl):)                        Citizen of This State             c,( I       O           Incorporated or Principal Place         O 4       O 4
                                                                                                                                                                            of Business In TI1is State

0          U.S. Government                 ~4      Diversity                                                    Citizen of Another State          0 2          0     2    Incorporated and Principal Place        0 5       c,(5
              Defendant                              (hrdicale Cilizenslrip of Pa,-ties in llem Ill)                                                                         of Business In Another Stale

                                                                                                                Citizen or Subject of a           0 3          0     3    Foreign Nation                          0 6       0 6
                                                                                                                  Forei 1 11 Count1
    IV NATURE OF SUIT (/'lace cm "X" in 011, H<Lt 011/j~                                                                                                        C'hck here for:        Nature of Smt Code Descm,tions.
I.      -c..~· w4                                TORTS.                                                         ' FORFEITIJRE/PENALTY                              BA.N1"1t111'   II I'              OTHER STA. TUTES               I
0     110 Insurance                           PERSONAL INJURY                      PERSONAL INJURY              0 625 Drug Related Seizure              o 422 Appeal 28 use 158                0 375 False Claims Act
0     120 Marine                          0 310 Airplane                       0 365 Personal Injury -                  of Property 21 USC 881          0 423 Withdrawal                       0 376 Qui Tam (31 USC
0     130 Miller Act                      0 315 Airplane Product                     Product Liability          0 690 Other                                   28 USC 157                             3729(a))
0     140 Negotiable Instrument                    Liability                   0 367 Health Care/                                                                                              0 400 State Reapportionment
0     150 Recovery of Overpayment         0   320 Assault. Libel &                   Phannaceutical                                                       ·PROPERTY RI -Ts         0           0 410 Antitrust
          & Enforcement of Judgment                Slander                           Personal lnju,y                                                    0 820 Copyrights                       0 430 Banks and Banking
0     151 Medicare Act                    0   330 Federal Employers'                 Product Liability                                                  0 830 Patent                           0 450 Commerce
0     152 Recovery of Defaulted                    Liability                   0 368 Asbestos Personal                                                  0 835 Patent - Abbreviated             0 460 Deportation
          Student Loans                   0   340 Marine                             Injury Product                                                                New Drug Application        0 470 Racketeer Influenced and
                                          0                                                                                                             0 840 Tradem ark
0
          (Excludes Veterans)
      153 Recovery of Overpayment
          of Veteran"s Benefils           0
                                              345 Marine Product
                                                   Liability
                                              350 Motor Vehicle
                                                                                     Liability
                                                                                PERSONAL PROPERTY
                                                                               0 370 Other Fraud
                                                                                                                 ,. ·-'-R

                                                                                                      0 710 Fair Labor Standards                        0
                                                                                                                                                             ""     .,
                                                                                                                                                             861 HIA (139511)
                                                                                                                                                                                       •
                                                                                                                                                                                                     Corrupl Organizalions
                                                                                                                                                                                               0 480 Consum<r Credit
                                                                                                                                                                                                     (15 USC 1681 or 1692)
0     160 Stockholders' Suits             0   355 Motor Vehicle                0 371 Truth in Lending       Act                                         0    862 Black Lung (923)              ~485 Telephone Consumer
0     190 Other Contract                          Product Liability            0 380 Other Personal   0 720 Labor/Management                            0    863 DIWC/DIWW (405(g))                  Protection Act
0     195 Contract Product Liability      0   360 Other Personal                      Property Damage                   Relations                       0    864 SSID Title XVI                0 490 Cable/Sat T\i
0     196 Franchise                               Injury                       0 385 Property Damage            0 740 Railway Labor Act                 0    865 RSI (405(g))                  0 850 Securities/Commodities/
                                          0   362 Personal Injury -                   Product Liability         0 75 I Family and Medical                                                            Exchange .
                                                  Medical Maloractice                                                   Leave Act                                                              0 890 Other Stan,tory Actions
I    ..,     REAL PROPERTY                    · CMLRIGHTS            ,.   ,,   · PRISONER PETITIONS             0 790 O~1er Labor Litigation              FEDERAI.,TAX SUITS                   0 891 Agricultural Acts
0 210 Land Condemnation                   0 440 Other Civil Rights                Habeas Corpus:                0 791 Employee Retirement               0 870 Taxes (U.S. Plaintiff            0 893 Environmental Matters
0 220 Foreclosure                         0 441 Voting                         0 463 Alien Detainee                    Income Security Act                         or Defendant)               0 895 Freedom oflnfomiation
0 230 Rent Lease & Ejectment              0 442 Employment                     0 510 Motions to Vacate                                                  0 871 IRS-Third Party                        Act
0 240 Torts to Land                       0 -143 Housing/                            Sentence                                                                      26   use 7609               0 896 Arbitration
0 245 Tort Product Liability                     Accommodations                0 530 General                                                                                                   0 899 Adminislrative Procedure
0 290 All Other Real Property             0 445 Amer. w/Disabilities -         0 535 Death Penalty                    IMMIGRATION                                                                    Act/Review or Appeal of
                                                 Employment                        Other:                       0 462 Naturalization Application                                                     Agency Decision
                                          0 446 Amer. w/Disabilities -         0   540 Mandamus & Other         0 465 Other Immig.ration                                                       0 950 Constitutionality of
                                                 Other                         0   550 Civil Ri!,!hts                 Actions                                                                        State Statutes
                                          0 448 Education                      0   555 Prison Condition
                                                                               0   560 Civil Detainee -
                                                                                       Conditions of
                                                                                       Confinement

V. ORIGIN (l'lm·eu11                "X"i11011eRnx011/y)
~I         Original              O 2 Removed from               0 3            Remanded from              0 4   Reinstated or       0 5    Transferred from               0 6      Multidistrict         0 8   Multidistrict
           Proceeding                State Court                               Appellate Court                  Reopened                   Another District                        Litigation -                Litigation -
                                                                                                                                           (.<pec!fj~                              Transfer                    Direct File
                                               Cite the U.S. Civil Statute under which you are filing (/Jo ,wt citejuri,dictional statutes 1111/ess diversity):
                     47 U.S.C. 227                                          -
VI. CAUSE OF ACTION 1-B-r-ie-fd-e-sc-r-ip-ti-on_o_f_c-au-s-e:_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

                                               Violation of TCPA
Vil. REQUESTED IN     IX CHECK IF THIS IS A CLASS ACTION                                                           DEMAND$                                              CHECK YES only if demanded in complaint:

     COMPLAINT:           UNDER RULE 23, F.R.Cv.P.                                                                   Excess of $25,000.00                               JURY DEMAND:                ))( Yes       • No
VIII. RELATED CASE(S)
                        (See instrm:lion.f):
      lF ANY                                                                                                                                                 DOCKET NUMBER

DATE


    FOR OFFICE USE ONLY

      RECEIPT#                        AMOUNT                                                                                              JUDGE                                    MAG.JUDGE
